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    IT IS ORDERED as set forth below:



    Date: March 13, 2019                                                 ___________________________

                                                                                       W. Homer Drake
                                                                                 U.S. Bankruptcy Court Judge
   _______________________________________________________________


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF GEORGIA
                                               NEWNAN DIVISION

IN RE:                                                                       ) CHAPTER 7
                                                                             )
JOSHUA RYAN ADLESPERGER,                                                     ) CASE NO. 18-12640-WHD
ASHLEY SKINNER ADLESPERGER,                                                  )
                                                                             )
           Debtors.                                                          )
                                                                             )
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
----------------                                                            -- ---------------
                                                                             )
BANK OF THE WEST, ITS ASSIGNEES AND/OR )
SUCCESSORS IN INTEREST,                                                      )
                                                                             )
           Movant.                                                           ) CONTESTED MATTER
vs.                                                                          )
                                                                             )
JOSHUA RYAN ADLESPERGER,                                                     )
ASHLEY SKINNER ADLESPERGER,                                                  )
THEO DAVIS MANN, Trustee,                                                    )
                                                                             )
           Respondents.                                                      )
                                                                             )
                           ORDER GRANTING MOTION FOR RELIEF FROM STAY

           The above and foregoing matter came on before this Court for hearing February 27, 2019, on the

Motion for Relief from Automatic Stay filed by Bank of the West, its assignees and/or successors in

interest (the "Movant").               Movant claims a first priority lien against Debtor's vehicle, to wit: 2016

Keystone 336BHS Cougar, VIN 4YDF33628G2508367 (the "Collateral"). Movant, by counsel, has filed
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a Certificate of Service certifying proper service of the Motion. At the call of the calendar, no opposition

was announced by any party in interest; accordingly, it is hereby

        ORDERED that the automatic stay imposed under 11 U.S.C. Section 362 is modified so as to

allow the Movant to recover and dispose of the Collateral in a commercially reasonable manner, to pay

the expenses of disposition and the lawful claim of Movant, and to remit to Trustee any remaining sale

proceeds; alternatively, if the disposition results in a deficiency, Movant may amend its claim filed in this

case, subject to objection. Further

        ORDERED that the provisions of Bankruptcy Rule 4001(a)(3) are waived.


                                         [END OF DOCUMENT]


PREPARED AND PRESENTED BY:

 /s/ A. Michelle Hart Ippoliti
________________________________________________
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CONSENTED TO BY:


 /s/ Theo Davis Mann                                                          .
(by A. Michelle Hart Ippoliti with express permission)
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                                   DISTRIBUTION LIST


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